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          IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION




JAIMERE PROSSER,                   *
                                   •


     Petitioner,                   *
                                   *      CV   116-097
     v.                            *      (Formerly CR 109-073)
                                   •


UNITED STATES OF AMERICA,          *
                                   *


     Respondent.                   *




                             ORDER




     Petitioner    Jaimere    Prosser    claims    that   his   federal

sentence of imprisonment should be modified pursuant to the

new rule of constitutional law announced in Johnson v.          United

States, 135 S. Ct. 2551 (2015) .       To that end, Petitioner filed

a pro se motion under 28 U.S.C. § 2255 to vacate, set aside,

or correct his sentence in this captioned case.            The United

States Magistrate Judge issued a Report and Recommendation on

July 5, 2016, recommending that the case be dismissed because

Attorney Julie M. Wade had filed a prior § 2255 motion on

Petitioner's behalf.     See Prosser v. United States, CV 116-092

(S.D. Ga. June 24, 2016).      With no objection, the Report and

Recommendation was adopted as the opinion of this Court on

August 2, 2016, and the case was dismissed.          Upon the Court's

direction, the Clerk of Court served a courtesy copy of the

Report and Recommendation and the Judgment Order in this case
upon Ms. Wade even though she did not represent Petitioner in
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this    case.


        Meanwhile, on July 5, 2016, the Magistrate Judge issued

a Report and Recommendation in Petitioner's other § 2255 case,

the one in which he is represented by counsel, Ms. Wade.                     This

Report and Recommendation,            however,     addresses the merits of

Petitioner's Johnson claim and ultimately recommends dismissal

of the claim.          In the case,    Petitioner was given until July

22, 2 016 to file objections to the Report and Recommendation.

No objections have been timely filed.                    No judgment has been

entered in the case,          CV 116-092.

        On August 4, 2016, having received the Judgment in this

case,    Ms.    Wade    filed   a   motion   for   reconsideration      in   the

underlying criminal case and does not identify a corresponding

civil action number.          The motion for reconsideration asks this

Court to vacate its judgment in the § 2255 case because she

inadvertently missed the deadline to file objections.                        Ms.

Wade    accepts        sole   responsibility       for    having   missed     the

objection deadline but wishes to be able to file objections to

preserve Petitioner's appellate rights.

        Because the motion for reconsideration asks the Court to

vacate its judgment, the motion was cross-filed in this civil

case    - the only        civil case in which a judgment has been

entered.          Upon        due   consideration,          the    motion     for

reconsideration (doc. no. 7) is DENIED.                  Petitioner, however,

is not without the remedy he ultimately seeks.                      This Court
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will enter an Order in Petitioner's other § 2255 case giving

him   14    days   to   file   objections      to    the        Report     and

Recommendation entered therein.     Thus, Petitioner will be able

to preserve his appellate rights on the merits of his Johnson

claim through the other § 2255 proceeding, CV 116-092.

      ORDER ENTERED at Augusta, Georgia, this              <m           day of

August,    2016.




                                            ;LE J.   RANDAL      HALL
                                            STATES   DISTRICT       JUDGE
                                              DISTRICT      OF    GEORGIA
